     Case 1:21-cr-00161-RBW Document 64 Filed 03/14/22 Page 1 of 12




                                                         U.S, Department of Justice

                                                         Mattliew M. Graves
                                                         United States Attorney

                                                         Disti'ict ofCoiumbia


                                                         Judiciary Center
                                                         555FmirtiiSl.,N.W.
                                                         Wasldnglon, D.C. 20530




                                                        February 16,2022

David Bos
Federal Public Defender
625 Indiana Ave NW# 550
Washington, DC 20004

                        Re:    United States v. Lyon
                               Criminal CaseNo. 21-CR-161 RBW

Dear counsel : •

        This letter sets forth the full and complete plea offer to your client, Robert Lyon (hereinafter
referred to as "your client" or "defendant"), from the Office ofthe United States Attorney for the
District of Columbia (hereinafter also referred to as "the Government" or "this Office"). This plea
offer replaces that vi'hich was extended on January 28,2022, and expires on February 24,2022. If
your client accepts the terms and conditions of this offer, please have yout client execute this
document in the space provided beiow. Upon receipt of the executed document, this letter will
become the Plea Agreement (hereinafter referred to as "this Agreement"). The terms of the offer
are as follows:

        1.      Charges and StatutoiT Penalties

        Your client agrees to plead guilty to Count Two of the Superseding Indictment, charging
your client with Theft of Government Propeity and Aiding and Abetting, in violation of Title 18,
United States Code, Section 641, and to Count Four of the Superseding Indictment, charging your
client with Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation of
18 United States Code, Section 1752(a)(2).

        Your client understands that a violation of Title 18, United States Code, Section 641 carries
a maximura sentence of 1 year's imprisonment, pursuant to 18 U.S.C, § 641; a fine of not more
than $100,000, pursuant to 18 U.S.C. § 3571(b)(5); a term of supervised release of not more than
one year, pursuant to 18 U.S.C. § 3583(b)(3); and an obUgation to pay any applicable interest or
penalties on fines and restitution not timely made. In addition, pursuant to 18 U.S.C. §
3013(a)(l)(A)(iii), your client agi'ees to pay a special assessment of $25 to the Clerk of the United
States District Court for the District of Columbia.


                                            Pagei of 12
     Case 1:21-cr-00161-RBW Document 64 Filed 03/14/22 Page 2 of 12




        Your client further understands that a violation of Title 18, United States Code, Section
17S2(a)(2) carries a maximum sentence of 1 year's imprisonment, pursuant to 18 U.S.C. §
 1752(b)(2); a fme of not more than $100,000, pursuant to 18 U.S.C. § 3571(b)(5); a term of
supervised release of not more than one year, pursuant to 1.8 U.S.C. § 3583(b)(3); and an obligation
to pay any applicable interest or penalties on fines and restitution not timely made. In addition,
pursuant to 18 U.S.C. § 3013(a)(l)(A)(iii), your client agrees to pay a special assessment of $25
to the Clerk ofthe United States District Court for the District of Columbia.

        With respect to both offenses, your client also understands that, pursuant to 18 U.S.C. §
3572 and § 5E1.2 of the United States Sentencing Commission, Guidelines Manual (2021)
(hereinafter "Sentencing Guidelines," "Guidelines," or "U.S.S.G,"), the Court may also impose a
fine that is sufficient to pay the federal government the costs of any imprisonment, term of
supervised release, and period of probation.

        2,     Factual Stipulations

        Your client agrees that the attached "Statement of Offense" fairly and accurately describes
your client's actions and involvement in the offenses to which your client is pleading guilty. Please
have your client sign and return the Statement of Offense as a written proffer of evidence, along
with this Agreement.

        3,     Additional Charges

        In consideration of your client's guilty plea to the above offenses, your client will not be
fuither prosecuted criminally hy this Office for the conduct set forth in the attached Statement of
Offense, The Government will request that the Court dismiss the remaining counts of the
Superseding Indictment in this case at the time of sentencing. Your client agrees and
acknowledges that the charges to be dismissed at the time of sentencing were based in fact.

        After the entry of your cBent's plea of guilty to the offenses identified in Section 1 above,
your client will not be charged with any non-violent criminal offense in violation of Federal or
District of Columbia law which was committed within the District of Columbia by your client
prior to the execution of tliis Agreement and about which this Office was made aware by your
client prior to the execution ofthis Agreement. However, the United States expressly reserves its
right to prosecute your client for any crime of violence, as defined in 18 U.S.C. § 16 and/or 22
D.C. Code § 4501, if in fact your client committed or commits such a crime of violence prior to or
after the execution of this Agreement.

       4,      Sentencing Guidelines Analvsis

        Your client understands that the sentence in this case will be determined by the Court,
pursuantto the factors set forth in 18 U,S.C. § 3553(a), including a consideration of the Sentencing
Guidelines. Pursuant to Federal Rule of Criminal Procedure 11 (c)(1)(B), and to assist the Court
in determining the appropriate sentence, the parties agree to the following:



                                           Page 2 of 12
           Case 1:21-cr-00161-RBW Document 64 Filed 03/14/22 Page 3 of 12




                       A.     Estimated Offense Level Under tlie Guidelines

              Tlie parties agree tfiat the following Sentencing Guidelines sections apply;



                       U.S.S.G. § 2B1.1(a) Base Offense Level                                    +6
                       U.S.S.G. § 3A1.2    Official Victim - Senate Parliamentarian              +3

                                                                           Total                 9
t^^D   Count K / e :

                       U.S.S.G. § 2A2.4(a) Base Offense Level                                    +10

                                                                           Total                 10

       Single offense level for grouped counts

                       U.S.S.G. § 3D 1.3     Higher offense level of grouped counts              10

              Acceptance of Responsibility

               The Government agi'ces that a 2-level reduction will be appropriate, pursuant to U.S.S.G.
       § 3E1.1:, provided that your client clearly demonstrates acceptance of responsibility, to the
       satisfaction ofthe Government, tln-ough your client's allocution, adherence to every provision of
       this Agreement, and conduct between entry of the plea and imposition of sentence.

              Nothing in this Agreement limits the right of the Government to seek denial of the
       adjustment for acceptance of responsibility, pursuant to U.S.S.G. § 3E1.1, regardless of any
       agreement set forth above, should your client move to withdraw your client's guilty plea after itis
       entered, or should it be determined by the Government that your client has either (a) engaged in
       conduct, unknown to the Government atthe time ofthe signing ofthis Agreement, that constitutes
       obstruction of justice, or (b) engaged in additional criminal conduct after signing this Agreement.

              Obstruction of Justice

               In addition, notwithstanding the offense level calculation above, the Government reserves
       the right to seek a 2-level adjustment for obstruction of justice, pursuant to U.S.S.G, § 3C1.1,
       including based on information currently known to the Government, Nothing in this Agreement,
       including in Section 4, 5, or 6 ofthis Plea Agreement, limits the Government's ability to seek the
       2-level adjustment for obstruction of justice pursuant to U.S.S.G, § 3C1.1 based on information
       Icnown or unlmown to the government at the time of the plea agreement.

              In accordance with the above, the Estimated Offense Level will be at least 8.




                                                  Page 3 of 12
    Case 1:21-cr-00161-RBW Document 64 Filed 03/14/22 Page 4 of 12




               B.      Estimated Criminal Histoiy Category

       Based upon tlie information now available to this Office, your client has no criminal
convictions that will score under the Sentencing Guidelines.

        Accordingly, your client is estimated to have 0 criminal history points and your client's
Criminal History Category is estimated to be 1 (the "Estimated Criminal Histoiy Categoiy"), Your
client acknowledges that after the pre-sentence investigation by the United States Probation Office,
a different conclusion regarding your client's criminal convictions and/or criminal history points
may be reached and your client's criminal history points may increase or decrease.

               C.      Estimated Guidelines Range

        Based upon the Estimated Offense Level and the Estimated Criminal History Category set
forth above, your client's estimated Sentencing Guidelines range will be at least 0 months to 6
months (the "Estimated Guidelines Range"), In addition, the parties agree that, pursuant to
U.S,S.G. § 5E1,2, should the Court impose a fine, at Guidelines level 8, the estimated applicable
fine range is at least $2,000 to $20,000. Your client reserves the right to ask the Court not to
impose any applicable fine.

       The parties agree that, solely for the purposes of calculating the applicable range under the
Sentencing Guidelines, neither a downward nor upward departure from the Estimated Guidelines
Range set forth above is warranted, except the Government reserves the right to request an upward
departure pursuant to U.S.S.G, § 3A1.4, n. 4. The parties are free to argue for a Criminal Histoiy
Category different from that estimated above in subsection B.

        Your client understands and acknowledges that the Estimated Guidelines Range calculated
above is not binding on the Probation Office or the Court, Should the Court or Probation Office
determine that a guidelines range different from the Estimated Guidelines Range is applicable, that
will not be a basis for withdrawal or recission of this. Agreement by either party.

        Your client understands and aclaiowledges that the terms of this section apply only to
conduct that occurred before the execution ofthis Agreement. Should your cheat commit any
conduct after the execution of this Agreement that would form the basis for an increase in your
clienf s base offense level or justify an upward departure (examples of which include, but are not
limited to, obstruction of justice, failure to appear for a court proceeding, criminal conduct while
pending sentencing, and false statements to law enforcement agents, the probation officer, or the
Court), the Government is free under this Agreement to seek an increase in the base offense level
based on that post-agreement conduct.

       5.      Agreement as to Sentencing Allocution

        The parties further agree that a sentence within the Estimated Guidelines Range would
constitute a reasonable sentence in light of all ofthe factors set forth in 18 U.S.C. § 3553(a), should
such a sentence be subject to appellate review notwithstanding the appeal waiver provided below,



                                            Page 4 of 12
    Case 1:21-cr-00161-RBW Document 64 Filed 03/14/22 Page 5 of 12




Fiowever, the parties agree tliat either party may seek a variance and suggest that the Court consider
a sentence outside of tlie applicable Guidelines Range, based upon the factors to be considered in
imposing a sentence pursuant to 18 U.S.C. § 3553(a).

        6.      Reservation of Allocution

        The Government and your client reserve the right to describe fully, both orally and in
writing, to the sentencing judge, the nature and seriousness ofyour client's misconduct, including
any misconduct not described in the charges to which your client is pleading guilty, to inform the
presentence report writer and the Court of any relevant facts, to dispute any factual inaccuracies
in the presentence report, and to contest any matters not provided for in this Agreement. The parties
also reserve the right to address the correctness of any Sentencing Guidelines calculations
determined by the presentence report writer or the court, even if those calculations differ from the
Estimated Guidelines Range calculated herein. In the eventthat the Court or the presentence report
writer considers any Sentencing Guidelines adjustments, departures, or calculations different from
those agreed to and/or estimated In this Agreement, or contemplates a sentence outside the
Guidelines range based upon the general sentencing factors listed in 18 U.S.C. § 3553(a), the
parties reserve the right to answer any related inquiries from the Court or the presentence report
writer and to allocute for a sentence within the Guidelines range, as ultimately determined by the
Court, even if the Guidelines range ultimately determined by the Court is different from tlie
Estimated Guidelines Range calculated herein.

         In addition, if in this Agreement the parties have agreed to recommend or refrain from
recommending to the Court a pardcular resolution of any sentencing issue, the parties reserve the
right to full allocution in any post-sentence litigation. The parties retain the fuH right of allocution
in connection with any post-sentence motion which may be filed in this matter and/or any
proceeding(s) before the Bureau of Prisons. In addition, your client aclaiowledges that the
Government is not obligated and does not intend to file any post-sentence downward departure
motion in this case pursuant to Rule 35(b) of the Federal Rules of Criminal Procedure.

        7.      Court Not Bound bv this Agreement or the Sentencing Guidehnes

       Your client understands that the sentence in this case will be imposed in accordance with
18 U.S.C. § 3S53(a), upon consideration of the Sentencing Guidelines. Your client further
understands that the sentence to be imposed is a matter solely within the discretion ofthe Court.
Your chent acl<nowledges that the Court is not obligated to follow any recommendation of the
Government at the time of sentencing. Your client understands that neither the Government's
recommendation nor the Sentencing Guidelines are binding on the Court.

        Your client aclaiowledges that your client's entry of a guilty plea to the charged offenses
authorizes the Court to impose any sentence, up to and including the statutory maximum sentence,
which may be greater than the applicable Guidelines range. The Govemment cannot, and does
not, make any promise or representation as to what sentence your client will receive. Moreover,
it is understood that your client will have no right to withdraw your client's plea of guilty should
the Court impose a sentence that is outside the Guidelines range or if the Court does not follow the
Government's sentencing recommendation. The Government and your client will be bound by


                                            Page 5 of 12
     Case 1:21-cr-00161-RBW Document 64 Filed 03/14/22 Page 6 of 12




this Agreement, regardless of the sentence imposed by the Court. Any effort by your client to •
withdraw the guilty plea because of the length of the sentence shall constitute a breach of this
Agreement.

        8.     Conditions of Release

        Your chent aclaiowledges that, although the Government will not seek a change in your
client's release conditions pending sentencing, the final decision regarding your client's bond
status or detention will be made by the Court at the time of your client's plea of guilty. The
Govemment may move to change your client's conditions of release, including requesting that
your client be detained pending sentencing, if your client engages in further criminal conduct prior
to sentencing or ifthe Govemment obtains information that it did not possess at the time ofyour
client's plea of guilty and that is relevant to whether your client is likely to flee or pose a danger'
to any person or the community, Your client also agrees that any violation ofyour client's release
conditions or any misconduct by your client may result in the Government filing an ex parte motion
with the Court requesting that a bench warrant be issued for your client's arrest and that your client
be detained without bond while pending sentencing in your client's oase.

        9.     Waivers

               A.      Venue

        Your client waives any challenge to venue in the District of Columbia.

               B.      Statute of Limitations

         Your client agrees that, should the conviction following your client's plea of guilty
pursuant to this Agreement be vacated for any reason, any prosecution, based on the conduct set
forth in the attached. Statement of Offense, that is not time-barred by the applicable statute of
limitations on the date ofthe signing of this Agreement (including any counts that the Government
has agreed not to prosecute or to dismiss at sentencing pursuant to this Agreement) may be
commenced or reinstated against your client, notwithstanding the expiration of the statute of
limitations between the signing of tliis Agreement and tlie commencement or reinstatement of such
prosecution. It is the intent of this Agreement to waive all defenses based on the statute of
Hmitations with respect to any prosecution of conduct set forth in the attached Statement of Offense
that is not time-barred on the date that this Agreement is signed.

               C.      Trial Rights

         Your client understands that by pleading guilty in this case your client agrees to waive
certain rights afforded by the Constitution of the United States and/or by statute or rule. Your
client agrees to forego the right to any further discovery or disclosures of information not already
provided at the time of the entry of your client's guilty plea. Your elient also agrees to waive,
among other rights, the right to plead not guilty, and the right to a jury trial. I f there were a jury
trial, your client would have the right to be represented by counsel, to confront and cross-examine
witnesses against your client, to challenge the admissibility of evidence offered against your client,

                                            Page 6 of 12
    Case 1:21-cr-00161-RBW Document 64 Filed 03/14/22 Page 7 of 12




to compel witnesses to appear for the purpose of testifying and presenting other evidence on your
client's behalf, and to choose whether to testify. If there were a jury trial and your client chose not
to testify at that trial, your client would have the right to have the jury instructed that your client's
failure to testify could not be held against your client.. Your client would further have the right to
have the jury instructed that your client is presumed innocent until proven guilty, and that the
burden would be on the United States to prove your client's guilt beyond a reasonable doubt. I f
your client were found guilty after a trial, your client would have the right to appeal your client's
conviction. Your client understands that the Fifth Amendment to the Constitution of the United
States protects your client from the use of self-incriminating statements ina criminal prosecution,
By entering a plea of guilty, your client knowingly and voluntarily waives or gives up your client's
right against self-incrimination,.

        Your client acknowledges discussing with you Rule 11(f) ofthe Federal Rules of Criminal
Procedure and Rule 410 of the Federal Rules of Evidence, which ordinarily limit the admissibility
of statements made by a defendant in the course of plea discussions or plea proceedings if a guilty
plea is later withdrawn. Your client laiowingly and voluntarily waives the rights that arise under
these rules in the event your client withdraws your client's guilty plea or withdraws from this
Agreement after signing it.

       Your client also agrees to waive all constitutional and statutoiy rights to a speedy sentence
and agrees that the plea of guilty pursuant to this Agreement will be entered at a time decided upon
hy the parties with the concurrence of the Court. Your client understands that the date for
sentencing will be set by the Court.

                D.      Appeal Rights

        Your client agrees to waive, insofar as such waiver is permitted by law, the right to appeal
the conviction in this case on any basis, including but not limited to claims that (1) the statutes to
which your client is pleading guilty are unconstitutional, and (2) the admitted conduct does not fall
within the scope ofthe statutes. Your client understands that federal law, specifically 18 U.S,C, §
3742, affords defendants the right to appeal their sentences in certain cheumstances. Your client
also agrees to waive the right to appeal the sentence in this case, including but not limited to any
term of imprisonment, fme, forfeiture, award of restitution, term or condition of supervised release,
authority of fhe Court to set conditions of release, and the manner in which tlie sentence was
determined, except to the extent the Court sentences your client above the statutoiy maximum or
guidelines range determined by the Court, In agreeing to this waiver, your client is aware that
your client's sentence has yet to be determined by the Court, Realizing the uncertainty in
estimating what sentence the Court ultimately will impose, your client laiowingly and willingly
waives your client's right to appeal the sentence, to the extent noted above, in exchange for the
concessions made by the Government in this Agreement. Notwithstanding the above agreement
to waive the right to appeal the conviction and sentence, your client retains the right to appeal on
the basis of ineffective assistance of counsel, but not to raise on appeal other issues regarding the
conviction or sentence.




                                             Page 7 of 12
    Case 1:21-cr-00161-RBW Document 64 Filed 03/14/22 Page 8 of 12




               E,      Collateral Attack

        Your client also waives any right to challenge the conviction entered or sentence imposed
under this Agreement or otherwise attempt to modify or change the sentence or the manner in
which it was determined in any collateral attack, including, but not limited to, a motion brought
under 28 U.S.C. § 2255 or Federal Rule of Civil Procedure 60(b), except to the extent such a
motion is based on newly discovered evidence or on a claim that your client received ineffective
assistance of counsel. Your client reserves the right to fde a motion hrought under 18 U.S.C.
§ 3582(G)(2), but agrees to waive the right to appeal the denial of such a motion.

               F.      Hearings by Video Teleconference and/or Teleconference

        Your client agrees to consent, under the CARES Act, Section 15002(b)(4) and otherwise,
to hold any proceedings in this matter- specifically including but not limited to presentment, initial
appearance, plea hearing, and sentencing ~ by video teleconference and/or by teleconference and
to waive any riglits to demand an in-person/in-Court hearing. Your client further agrees to not
challenge or contest any findings by the Court that it may properly proceed by video
teleconferencing and/or telephone conferencing in this case because, due to the COVID-19
pandemic, an in-person/in-Court hearing cannot be conducted in person without seriously
jeopardizing pubhc health and safety and that further there are specific reasons in this case that
any such hearing, including a plea or sentencing hearing, cannot be flnther delayed without serious
harm to the Interests of justice.

        10.    Use of Self-Incriminating Information

        The Government and your client agree, in accordance with U.S.S.G. § 1B1.8, that the
Government will be free to use against your chent for any purpose at the sentencing in this case or
in any related criminal or civil proceedings, any self-incriminating information provided by your
client pursuant to this Agreement or during the course of debriefmgs conducted in anticipation of
this Agreement, regardless of whether those debriefings were previously covered by an "off the
record" agreement by the parties.

        11.    Restitution

        Your client aclcno wledges that the riot that occurred on January 6,2021, caused as of May
17, 2021, approximately $1,495,326.55 damage to the United States Capitol. Your client agrees
as part ofthe plea in this matter to pay restitution to the Architect of the Capitol in the amount of
$2,000.

        Payments of restitution shall be made to the Clerk of the Court. In order to facilitate the
collection of financial obligations to be imposed in connection with this prosecution, your client
agrees to disclose fully all assets in which your client has any interest or over which your client
exercises control, directly or indirectly, including those held by a spouse, nominee or other third
party, Your client agrees to submit a completed fmancial statement on a standard financial
disclosure form which has been provided to you with this Agreement to the Financial Litigation
Unit ofthe United States Attorney's Office, as it directs. If you do not receive the disclosure form,
your client agrees to request one from usadc.ecfflu@usa.doj.gov. Your client will complete and

                                            Page 8 of 12
     Case 1:21-cr-00161-RBW Document 64 Filed 03/14/22 Page 9 of 12




electronically provide the standard fmancial disclosure form to usado.ecfflu@usa.doj,gov 30 days
prior to your client's sentencing. Your client agrees to be contacted by the Financial Litigation
Unit of the United States Attorney's Office, through defense counsel, to complete a financial
statement. Upon review, if there are any follow-up questions, your client agrees to cooperate with
the Financial Litigation Unit. Your client promises that the financial statement and disclosures
will be complete, accurate and trutliful, and understands that any willful falsehood on the fmancial
statement could be prosecuted as a separate crime punisliable under 18 U.S.C. § 1001, which
carries an additional five years' incarceration and a fine.

        Your client expressly authorizes the United States Attorney's Office to obtain a credit
report on your client in order to evaluate your client's ability to satisfy anyfinancialobligations
imposed by the Court or agreed to herein.

        Your client understands and agrees that the restitution or fines imposed by the Court will
be due and payable immediately and subject to immediate enforcement by the United States. I f
the Court imposes a schedule of payments, your client understands that the schedule of payments
is merely a minimum schedule of payments, and wiU not be the only method, nor a limitation on
the methods, available to the United States to enforce the criminal judgment, including without
limitation by administrative offset. If your client is sentenced to a term of imprisonment by the
Court, your client agrees to participate in the Bureau of Prisons' Inmate Financial Responsibility
Program, regardless of whether the Court specifically imposes a schedule of payments.

       Your client certifies that your client has made no transfer of assets in contemplation ofthis
prosecution for the purpose of evading or defeating financial obligations that are created by this
Agreement and/or that may be imposed, by the Court. In addition, your chent promises to make
no such transfers in the future until your chent has fulfilled, the flnancial obligations under this
Agreement,

        12.    Interpreter

        Your client agrees that if an interpreter is required to assist your client in translating this
Agreement into your client's native language, then your client agrees to request the Court, pursuant
to "The Court Interpreter's Act," 28 U,S,C, § 1827, to secure the services of a certified interpreter
at the Court's expense to verbally translate this Agreement and related documents for your client
into your client's native language. I f no such request is made, then your client hereby declares
that your client understands the English language sufficiently well to read and understand this
Agreement, or that this Agreement has been read to your client in your client's native language
and that your client therefore understands this Agreement.

       13.     Breach of Agreement

        Your client understands and agrees that, if after entering this Agreement, your client fails
specifically to perform or to fulfill completely each and every one of your client's obhgations
under this Agreement, or engages in any criminal activity prior to sentencing, your client will have
breached this Agi-eement, In the event of such a breach: (a) the Government will be free from its
obligations under this Agreement; (b) your client will not have the right to withdraw the guilty

                                            Page 9 of 12
   Case 1:21-cr-00161-RBW Document 64 Filed 03/14/22 Page 10 of 12




plea; (c) your client will be fully subject to criminal prosecution for any other crimes, inoluding
perjury and obstraction of justice; and (d) the Government will be free to use against your client,
directly and indirectly, in any criminal or civil proceeding, all statements made by your client and
any ofthe information or materials provided by your client, including such statements, information
and materials provided pursuant to this Agreement or during the course of any debriefings
conducted in anticipation of, or after entry of, this Agreement, whether or not the debriefings were
previously characterized as "off-the-record" debriefings, and including your client's statements
made during proceedings before the Court pursuant to Rule 11 of the Federal Rules of Criminal
Procedure,

        Your client understands and agrees tliat the Government shall be required to prove a breach
ofthis Agreement only by a preponderance of the evidence, except where such breach is based on
a violation of federal, state, or local criminal law, which the Government need prove only by
probable cause in order to establish a breach ofthis Agreement,

       Nothing in this Agreement shall be construed to permit your client to commit perjury, to
make false statements or declarations, to obstruct justice, or to protect your client from prosecution
for any crimes not included within this Agreement or committed by your client after the execution
ofthis Agreement, Your client understands and agrees that the Government reserves the right to
prosecute your client for any such offenses. Your client further understands that any perjury, false
statements or declarations, or obstruction of justice relating to your client's obligations under this
Agreement shall constitute a breach of this Agreement, In the event of such a breach, your client
will not be allowed to withdraw your client's guilty plea.




                                           Page 10 of 12
    Case 1:21-cr-00161-RBW Document 64 Filed 03/14/22 Page 11 of 12




       14.     Complete Agreement

        No agreements, promises, understandings, or representations liave been made by the parties
or their counsel other than those contained in writing herein, nor will any such agreements,
promises, understandings, or representations be made unless committed to writing and signed by
your client, defense counsel, and an Assistant United States Attorney for the District of Columbia.

       Your client further understands that this Agreement is binding only upon the Criminal and
Superior Court Divisions ofthe United States Attorney's Office for the District of Columbia. This
Agreement does not bind the Civil Division of this Office or any other United States Attorney's
Office, nor does it bind any other state, local, or federal prosecutor. It also does not bar or
compromise any civil, tax, or administrative claim pending or that may be made against your client.

       If the foregoing terms and conditions are satisfactory, your client may so indicate by
signing this Agreement and the Statement- of Offense, and returning both to me no later than
February 24, 2022,

                                                    Sincerely yours.




                                                    Matthew M. Graved
                                                    United States Attorney

                                             By:    A'/ William Dreher
                                                    William. Dreher
                                                    Assistant Umted States Attorney




                                         Page 11 of 12
    Case 1:21-cr-00161-RBW Document 64 Filed 03/14/22 Page 12 of 12




                                DEFENDANT'S ACCEPTANCE

        I have read every page ofthis Agreement and have discussed it with my attorney, David
Bos. I fully understand this Agreement and agree to it without reservation, I do this voluntarily
 and of my own free will, intending to he legally hound. No threats have been made to rae nor am
I under the influence of anything that could irapede my ability to understand this Agreement fuUy.
I am pleading guilty because I am in fact guilty ofthe offenses identified in this Agreement.

       I reaffirm that absolutely no promises, agreements, understandings, or conditions have
been made or entered into in connection with my decision to plead guilty except those set forth in
this Agreement. I am satisfied with the legal services provided by my attorney in connection with
this Agreement and matters related to it




           3/1/2022
Date;
                                      Robert Lyon
                                      Defendant


                            ATTORNEY'S ACKNOWLEDGMENT

        I have read every page of this Agreement, reviewed this Agreement with my client, Robert
Lyon, and fully discussed the provisions ofthis Agreement with my client. These pages accurately
and completely set forth the entire Agreement, I concur in my client's desire to plead guilty as set
forth in this Agreement.




                                      Attorney for Defendant




                                          Page 12 of 12
